Case: 4:22-cv-01113-RLW   Doc. #: 20-7 Filed: 04/06/23   Page: 1 of 12 PageID #:
                                     935




                                                                        Exhibit 7
Case: 4:22-cv-01113-RLW   Doc. #: 20-7 Filed: 04/06/23   Page: 2 of 12 PageID #:
                                     936




                                                                        Exhibit 7
Case: 4:22-cv-01113-RLW   Doc. #: 20-7 Filed: 04/06/23   Page: 3 of 12 PageID #:
                                     937




                                                                        Exhibit 7
Case: 4:22-cv-01113-RLW   Doc. #: 20-7 Filed: 04/06/23   Page: 4 of 12 PageID #:
                                     938




                                                                        Exhibit 7
Case: 4:22-cv-01113-RLW   Doc. #: 20-7 Filed: 04/06/23   Page: 5 of 12 PageID #:
                                     939




                                                                        Exhibit 7
Case: 4:22-cv-01113-RLW   Doc. #: 20-7 Filed: 04/06/23   Page: 6 of 12 PageID #:
                                     940




                                                                        Exhibit 7
Case: 4:22-cv-01113-RLW   Doc. #: 20-7 Filed: 04/06/23   Page: 7 of 12 PageID #:
                                     941




                                                                        Exhibit 7
Case: 4:22-cv-01113-RLW   Doc. #: 20-7 Filed: 04/06/23   Page: 8 of 12 PageID #:
                                     942




                                                                        Exhibit 7
Case: 4:22-cv-01113-RLW   Doc. #: 20-7 Filed: 04/06/23   Page: 9 of 12 PageID #:
                                     943




                                                                        Exhibit 7
Case: 4:22-cv-01113-RLW   Doc. #: 20-7 Filed: 04/06/23   Page: 10 of 12 PageID
                                    #: 944




                                                                       Exhibit 7
Case: 4:22-cv-01113-RLW   Doc. #: 20-7 Filed: 04/06/23   Page: 11 of 12 PageID
                                    #: 945




                                                                       Exhibit 7
Case: 4:22-cv-01113-RLW   Doc. #: 20-7 Filed: 04/06/23   Page: 12 of 12 PageID
                                    #: 946




                                                                       Exhibit 7
